Case 3:09-cr-00368-HEH-DJN Document 47 Filed 03/26/15 Page 1 of 4 PageID# 215


                                                                                            26 2015
                           IN THE UNITED STATES DISTRICT COURT                                            tU
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                        RICHMOND. VA
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                         Richmond Division


 UNITED STATES OF AMERICA


           V.                                          Criminal No. 3:09-CR-368HEH


 COVEY ANDREWS                                         UNDER SEAL



                 SUPPLEMENTAL RESPONSE OF THE UNITED STATES TO
                    DEFENDANT'S MOTION TO VACATE, SET ASIDE OR
                    CORRECT SENTENCE PURSUANT TO 28 U.S.C. $ 2255



           COMES NOW, the United States of America, by counsel, and files this Supplemental

 Response to defendant's Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C.

 § 2255.

           On September 11, 2009, Richmond Police officers recovered 33.4 grams of heroin, a

 loaded .357 caliber Smith & Wesson pistol, a digital scale, a box of plastic sandwich baggies,

 and a bag of rubber bands from the Mercedes Benz defendant was then operating. The search

 was pursuant to a warrant obtained by former Richmond Detective Jason Norton. Defendant,

 Covey Andrews, does not contest these facts. Indeed, on December 22, 2009, he pled guilty to

 possession with the mtent to distribute the heroin, in violation of 21 U.S.C. § 841; and possession

 of the firearm in furtherance of a drug-trafficking crime, in violation of 18 U.S.C. § 924(c).

           Well after these events, the United States became aware that there were numerous

 irregularities in in the identification of informants used by former Detective Norton in search

 warrants, and in the paperwork associated with documenting and paying these individuals.

 These irregularities raised questions about the candor and accuracy of former DetectiveNorton.
Case 3:09-cr-00368-HEH-DJN Document 47 Filed 03/26/15 Page 2 of 4 PageID# 216



 Accordingly, the United States disclosed to defense counsel in all federal cases in which former

 Detective Norton had been an affiant for a warrant the fhiits of its investigation to that date. As a

 result of the information disclosed by the United States, defendant filed the present motion,

 pursuant to 28 U.S.C. § 2255, to withdraw his guilty plea.

        Since its initial disclosure, the United States has continued its investigation of this matter,

 including interviewing former Detective Norton and various individuals who have provided him

 with information. What that investigation has made clear is that the probable cause information

 in the affidavit in this case is accurate, and was provided by a reliable informant.

        Nonetheless, the United States has concluded that there is sufficient Giglio material

 pertaining to former Detective Norton and sufficient reason to doubt the description of the

 informant in this case to warrant this Court granting the defendant's motion to withdraw his

 guilty plea pursuant to 28 U.S.C. ^ 2255. The United States is satisfied that had defendant been

 aware of these facts, he would not have pled guilty in this case. See United States v. Fisher, 711

 F.3d 460 (4th Cir. 2013) (guilty plea not knowingly and voluntarily made when defendant has

 been misinformed as to a crucial aspect of his case.)

                                           CONCLUSION


        Based on the foregoing, the United States respectfully requests that the Court grant

 defendant's 2255 motion and allow defendant to withdraw his plea of guilty.
Case 3:09-cr-00368-HEH-DJN Document 47 Filed 03/26/15 Page 3 of 4 PageID# 217



                                     Respectfully submitted,

                                     DANAJ.BOENTE
                                     UNITED STATES ATTORNEY




                               By:
                                     Stephen W. Miller
                                     Assistant United States Attorney
                                     United States Attorney's Office
                                     600 East Main Street, Suite 1800
                                     Richmond, Virginia 23219
Case 3:09-cr-00368-HEH-DJN Document 47 Filed 03/26/15 Page 4 of 4 PageID# 218



                                 CERTIFICATE OF SERVICE


        I certify that a true and exact copy ofthe foregoing Supplemental Response of the United

 States to Defendant's Motion to Vacate, Set Aside or Correct Sentence Pursuant to 28 U.S.C.

 §2255 was sent by mail this-^^^ay ofMarch, 2015 to:

                              Robert J. Wagner
                              Assistant Federal Public Defender
                              701 East Broad Street, Suite 3600
                              Richmond, Virginia 23219
                              Counsel for Defendant




                                                    Stephen W. Miller
                                                    V.S.B. No. 23704
                                                    Assistant United States Attorney
                                                    Office of the United States Attorney
                                                    600 East Main Street, Suite 1800
                                                    Richmond, Virginia 23219
                                                    (804) 819-5487
                                                    (804) 771-2316 (facsimile)
                                                    Stephen.Miller@usdoj.gov
